
McLaughlin, J.
I think that "the motion should be granted. A justice of the peace has such jurisdiction “as is specially conferred upon him by statute and no other.” Code Civ. Proc. § 2861. The time in which a justice must render judgment, after a cause is finally submitted to him, is limited by statute. The statute is mandatory. He “must render judgment and enter it in his docket book within four days after the cause has been finally submitted to him.” Id. § 3015. The statute requires two things,, both of which must be done within the time prescribed,—the rendering of judgment, and the entry of the same in his docket book. The power of the justice being thus limited by statute, and he not having acted within the time prescribed, his subsequent act of rendering the judgment was without jurisdiction, and the judgment itself is void, unless his jurisdiction was preserved by the stipulation. The stipulation was entered into, according to the sworn statement of the attorney for the defendant, “without the knowledge of or authority from the defendant." The defendant’s affidavit states that he “never in any manner authorized or empowered any one to agree that said justice should have more time than the statute gives in which to render judgment.” There is, therefore, not only no proof that the attorney of the defendant was authorized to enter into such a stipulation, but there are the-*352sworn statements of both the defendant and his attorney that no such authority was conferred. Authority to appear for a party in justice’s court does not carry with it authority to enter into a stipulation of the character of the one in question. Such a person is a mere agent. He has power to do that which his principal has authorized him to do, and no-more. If he exceeds the authority given him by his principal, the principal is not bound. Here the attorney was authorized to appear and take charge of the defendant’s interests so far as the management and control and final submission of the cause was concerned. When the cause was argued and finally submitted to the justice, the power of the attorney to represent his principal'was at an end. The authority thus given did not authorize the attorney to extend the time within which the justice must render judgment any more than it would have given-him authority to satisfy the judgment after it had been 2-en-dered, had it been in his client’s favor. Stipulations of this character were condemned in Flynn v. Hancock, 46 Hun, 369; 15 St. Rep. 145. If the foregoing conclusions are correct, then it necessarily follows that the judgment rendered by the justice was absolutely void, and, being void, can be assailed whenever and where-ever it is sought to be enforced. Ferguson v. Crawford, 70 N. Y. 254. Motion granted, with $10 costs.
